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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                       AT LOUISVILLE


 UNITED STATES OF AMERICA,

                        Plaintiff,                             CR. NO. 3:21-cr-00155

 v.                                                            Hon. David J. Hale

 JOSHUA WHITE,                                                 MJ Hon. Regina S. Edwards

                        Defendant.


      DEFENDANT'S MOTION IN LIMINE TO PRECLUDE/NOTICE OF
       OBJECTION TO IRRELEVEANT EVIDENCE AT SENTENCING




        Joshua White moves this Court to preclude the Government’s presentation of evidence at

 sentencing not relevant to the charge to which he pled guilty.

        Joshua White was charged in a superseding indictment with possession of child

 pornography and access with intent to view child pornography. Mr. White denied these allegations

 and the case was set for trial. Mere days before trial the parties negotiated a plea to misprision of

 felony with an offense date of February 2021. The Presentence Report included as relevant conduct

 images found in either unallocated space or the recycle bin of three hard drives, two of which have

 no evidence of use since 2010 and one that has no evidence of use since 2013. See Declaration of

 Micheal Littrell, Attached.




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        The Government has provided notice that it will introduce evidence at sentencing to

 support the inclusion of these devices as relevant conduct. The Government’s notice provides it

 will introduce the following evidence in an email to the Court:

        1. Pictures taken from the search showing where the devices were located in
        White’s residence
        2. List of anti-forensic software found on White’s devices
        3. Picture of the home screen from Toshiba laptop
        4. Search terms and websites visited from the devices

        If necessary, I [the assigned AUSA] will also plan to show the court images of
        child pornography located on the devices, screenshots of search terms and the
        results of those searches (including potential images of child pornography), and
        screenshots of the usage of the device on the day the referenced searches took
        place.


 Evidence from 2013 or before.

        All the images of child pornography and screenshots were found on the three disputed

 items. Nothing about those screenshots, the images, or search terms from those devices supports

 the proposition that they were in use after 2010 or 2013. Even if the Government were to prove by

 a preponderance of the evidence that Mr. White was involved with those images or searches, they

 would still not be relevant conduct for the offense of misprision of a felony in 2021. Mr. White

 asks this Court to make an initial determination of relevancy before allowing the presentation of

 this evidence.

        Mr. White does not object to the presentation of photographs showing where the hard

 drives were found in the house. While he does not believe that evidence overcomes the forensic

 evidence showing the period in which the hard drives were in use, it is potentially relevant to the

 determination of whether they were recently used or accessed, or if they were in some other way

 related to his 2021 misprision offense.




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 Evidence from the Toshiba Laptop.

        Forensic evidence shows the Toshiba laptop was in use from approximately 2014 until its

 seizure in 2021. Evidence from that laptop is relevant to Mr. White’s offense of conviction and he

 does not object to its presentation.


                                                     Respectfully submitted,


                                                       /s/ Wanda McClure Dry
                                                       The Dry Law Firm
                                                       P.O. Box 2122
                                                       Danville, Kentucky 40423
                                                       Co-counsel for Defendant

                                                       /s/ James R. Gerometta
                                                       Law Office of James Gerometta
                                                       27 E. Flint St
                                                       Suite 2
                                                       Lake Orion, MI 48362



        Dated: February 23, 2025




                                    CERTIFICATE OF SERVICE

        I hereby certify that on February 23, 2025, I electronically filed the foregoing with the

 Clerk of Court using the CM/ECF system, which will send a notice of electronic filing to the

 Hon. A. Spencer McKiness, Assistant United States Attorney, and Hon Stephanie M. Zimdahl,

 Assistant United States Attorney.




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